      Case 3:25-cv-03372-JSC        Document 53       Filed 05/23/25   Page 1 of 2



 1   ROB BONTA
     Attorney General of California
 2   THOMAS S. PATTERSON
     Senior Assistant Attorney General
 3   LARA HADDAD
     Supervising Deputy Attorney General
 4   SHIWON CHOE (SB 320041)
     CAROLYN F. DOWNS (SB 353455)
 5   ZELDA VASSAR (SB 313789)
     Deputy Attorneys General
 6    455 Golden Gate Avenue, Suite 11000
      San Francisco, CA 94102-7004
 7    Telephone: (415) 510-4400
      Fax: (415) 703-5480
 8    E-mail: Shiwon.Choe@doj.ca.gov
               Carolyn.Downs@doj.ca.gov
 9             Zelda.Vassar@doj.ca.gov
     Attorneys for Plaintiffs State of California and
10   Gavin Newsom, in his official capacity as Governor
     of California
11

12                          IN THE UNITED STATES DISTRICT COURT
13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN FRANCISCO DIVISION
15

16

17   STATE OF CALIFORNIA and GAVIN                   Case No. 3:25-cv-03372-JSC
     NEWSOM, in his official capacity as
18   Governor of California,
                                                     PLAINTIFFS’ NOTICE OF ERRATA
19                                       Plaintiffs, REGARDING MOTION FOR
                                                     PRELIMINARY INJUNCTION
20                 v.
                                                     Date/Time: June 26, 2025 at 10:00 a.m.
21                                                   Location: Courtroom 8, 19th Floor
     DONALD J. TRUMP, in his official capacity
22   as President of the United States, et al.,

23                                     Defendants.

24

25

26

27

28
      Case 3:25-cv-03372-JSC          Document 53            Filed 05/23/25        Page 2 of 2



 1         Plaintiffs respectfully submit this Notice of Errata regarding their Motion for Preliminary
 2   Injunction (ECF No. 15). Plaintiffs made several inadvertent citation errors, as detailed below,
 3   which were largely a result of formatting changes. Plaintiffs apologize for these errors.
 4         Page 3, line 7 cites to Id. ¶¶ 9-32; the citation should have been to Id. ¶¶ 29-32.
 5         Page 3, line 21 cites to Id. ¶¶ 51, 53; the citation should have been to York ¶¶ 51, 53.
 6         Page 4, lines 3-4 quotes York ¶ 46 as a “preview of the shortages which will follow”; the
 7   quotation should have been a “preview of shortages that may follow.”
 8         Page 4, lines 6-7 quotes Clausing ¶ 10 as “and will have lasting harm on unemployment”;
 9   the quotation should have been “generating lasting harmful effects on employment[.]”
10         Page 5, line 12 cites to Id. ¶¶ 3, 6; the citation should have been to Bradley ¶¶ 3, 6.
11         Page 21, line 3 cites to Shell ¶ 9; the citation should have been to Shell ¶ 19.
12         Page 21, lines 10-11 cites to Bradley ¶ 6 for the proposition “such as products to assist
13   public school student with disabilities”; this clause should have been “such as products to assist
14   California’s children[.]”
15         Page 21, line 22 cites to York ¶ 16; the citation should have been to White ¶¶ 5-6; see also
16   York ¶ 16.
17

18   Dated: May 23, 2025                                      Respectfully submitted,
19                                                            ROB BONTA
                                                              Attorney General of California
20                                                            THOMAS S. PATTERSON
                                                              Senior Assistant Attorney General
21                                                            LARA HADDAD
                                                              Supervising Deputy Attorney General
22
                                                              s/Zelda Vassar
23                                                            ZELDA VASSAR
                                                              SHIWON CHOE
24                                                            CAROLYN F. DOWNS
                                                              Deputy Attorneys General
25                                                            Attorneys for Plaintiffs State of California
                                                              and Gavin Newsom, in his official capacity
26                                                            as Governor of California
27

28
                                                         1
                                      Notice of Errata Regarding Pls.’ Mot. for Prelim. Inj. (No. 3:25-cv-03372-JSC)
